       Case 2:10-cr-00042-TLN Document 254 Filed 08/13/15 Page 1 of 3



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     KEIT TRAN
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 10-cr-42 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     KEIT TRAN,                                          RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable MORRISON C. ENGLAND, JR.

17             Defendant, KEIT TRAN, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,

19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On September 12, 2013, this Court sentenced Mr. Tran to a term of 96 months

25   imprisonment;

26             3.         Mr. Tran’s total offense level was 31, his criminal history category was III, and

27   the resulting guideline range was 135 to 168 months. He received a sentence below the

28   guideline range on the government’s motion;

     Stipulation and Order Re: Sentence Reduction          1
       Case 2:10-cr-00042-TLN Document 254 Filed 08/13/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Tran was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Tran’s total offense level has been reduced from 31 to 29, and his amended
5    guideline range is 108 to 135 months. A reduction comparable to the one he received initially
6    produces a term of 76 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Tran’s term of imprisonment to a total term of 76 months.
9    Respectfully submitted,
10   Dated: August 12, 2015                             Dated: August 12, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt_____                               /s/ Hannah R. Labaree __
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           KEIT TRAN
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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:10-cr-00042-TLN Document 254 Filed 08/13/15 Page 3 of 3



1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Tran is entitled to the benefit Amendment
5    782, which reduces the total offense level from 31 to 29, resulting in an amended guideline range
6    of 108 to 135 months. A reduction comparable to the one he received initially produces a term
7    of 76 months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in November of 2012
9    is reduced to a term of 76 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Tran shall report to the United States Probation Office
15   within seventy-two hours after his release.
16             IT IS SO ORDERED.
17   Dated: August 12, 2015
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     Stipulation and Order Re: Sentence Reduction       3
